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UNITED sTATES DISTRICT coURT
FOR THE wEsTERN DISTRICT or TENNESSEEU$JUNZl AH 51“3
wEsTERN DIVISION

FZOBER‘T R. Di TROL{O

CLEF§K. U.S. DJST. CT.

W.D. OF TN, I‘~.’IEF\!`\PH!S
UNITED STATES OF AMERICA,

Plaintiff, Civil Action No. (96-2312)
STATE OF TENNESSEE, et al.,

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Defendants. )

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l. Upon a Joint Motion and Stipulation presented by the
parties and for good cause shown, the Court hereby dismisses,
with prejudice, the following court orders in this case:

A. Section I ("Remedial Measures", including Attachment
A referenced therein), Section II ("Status Reports"), and
Section IV ("Construction and Termination") of the March 27,
1996, Consent Decree; and

B. All provisions of September 18, 1998, Stipulation and
Order.

2. Upon a Joint Motion and Stipulation presented by the
parties and for good cause shown, the Court hereby enters as
an order of the Court the Plan for Non~Psychiatric Medical
Care, attached hereto as Attachment A, and incorporated by
reference into this Order.

3. Upon a Joint Motion and Stipulation presented by the

Thts document entered on the docket sheet in compliance
with Rule 58 and,'or 79(3) FFtCP on ' “

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parties and for good cause shown, the Court hereby enters as
an order of the Court the Plan for Psychopharmacological
Practices, attached hereto as Attachment B, and incorporated
by reference into this Order.

4. Upon Joint Motion and Stipulation presented by the
parties and for good cause shown, the Court hereby orders
that:

(A) The Stipulation for Supplemental Relief shall be
dismissed, with prejudice, six months from date of entry of
this Order; or

(B) That the Stipulation for Supplemental Relief shall be
dismissed earlier than six months from date of entry if:

(i) The United States and Defendants agree that
Defendants have achieved substantial compliance with each
provision of the Supplemental Stipulation for a period of at
least six months; or

(ii) Defendants petition the Court for termination of
this Supplemental Stipulation, in whole or in part, on grounds
that they have achieved and demonstrated their ability to
maintain compliance with its provisions at any time. Upon the
filing of such petition, the United States shall have 60 days
to object. If no objection is filed, the Supplemental
Stipulation shall terminate as to the parts addressed by the

petition. If the United States files an objection, the Court

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will decide which parts of the Supplemental Stipulation shall
be terminated and which parts shall remain in effect.

5. This Order is binding on all State of Tennessee
agencies and/or departments that may have an effect on the
operations of MMHI, and on all Defendants, and their

successors and/or agents.

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DATED: OLML goes , Memphis, Tennessee

IT IS SO ORDERED

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ATTACHMENT A

Plan for Non-Psychiatric Medical Care

Timely and effective consultation with outside providers shall be obtained as
indicated for patients with medical concerns, with adequate follow-up and
documentation by MMHI staff.

l.l

1.2

1.3

1.4

When patients need medical assessment and/or treatment that cannot be provided
by MMHI, the patient shall be referred to outside medical services including, but
not limited to, the emergency room at The Regional Medical Center, specialty
clinics, or private practitioners

lnformation necessary to assure that the outside medical provider is aware of the
patient's condition and current treatment, as Well as the reason for the request for
services, shall be given to the outside provider prior to sending the patient or shall
be sent With the patient

Arrangements shall be made with outside medical providers to assure that all
relevant information regarding the treatment provided and recommendations for
medical follow-up, either by MMHI or by the outside provider, is provided to
MMHI either prior to the patient returning to MMHI or With the patient upon
return lf information is not provided by the outside medical provider, MMHI
staff shall contact the provider to obtain the information

Any patient sent out for medical services shall be evaluated by a physician or
nurse practitioner in a timely manner upon return to MMHI, With follow-up orders
Written as indicated

Non-psychiatric medical interventions shall be documented and integrated into
treatment planning.

2.1

lnitial Treatment Plan (ITP):

2.1.1 Within 24 hours of admission, based on the Medical History & Physical
Exarn, the internist or nurse practitioner shall indicate on the Medical
Problems page of the lnitial Treatment Plan any chronic medical problems
receiving active medical treatment and/or any medical problems that may
affect the patients psychiatric condition. The internist/nurse practitioner
shall develop initial interventions to treat the identified medical problems
If a medical treatment plan protocol is initiated, then the protocol shall be
completed at the time of the ITP and "see medical treatment protocol for

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2.2

2.3

2.1.2

(specifrc medical problem)" shall be written in the intervention section of
the ITP. The medical treatment protocol shall then serve as the internist's
or nurse practitioners interventions for that medical problem.

The treatment team, under the leadership of the attending psychiatrist
shall add or modify the discipline-specific, individualized interventions on
the ITP, including medical interventions as necessary to address the
patient's current needs, problems, and/or behaviors

Master Treatment Plan (MTP):

2.2.1

2.2.2

2.2.3

The MTP shall include medical problems related objectives and
interventions or protocols initiated to address medical problems

The internist or nurse practitioner shall initiate Medical Treatment Plans as
medical problems are diagnosed Thus, a Medical Treatment Plan can be
incorporated into the ITP (if the Medical Treatment Plan is initiated prior
to the MTP) or into the MTP. A medical problem shall require a Medical
Treatment Plan if the problem is a chronic problem requiring active
medical treatment and/or a problem that may impact the patient's
psychiatric condition Medical problems that do not meet these criteria
shall be addressed through the physician's orders and nursing care plans

The attending psychiatrist is ultimately responsible for the total care of
his/her patients, including medical treatment The internist or nurse
practitioner functions in a consultative role to the attending psychiatrist
and is responsible for the immediate medical care of the patient Together,
the attending psychiatrist and the internist or nurse practitioner are
considered the "Responsible Staff“ for providing interventions addressing
medical problems on the Medical Treatment Plans.

Treatment Plan Reviews (TPRs):

2.3.1

2.3.2

Interdisciplinary TPRS shall include a verbal review of the status of
problems identified on the MTP, including medical problems, and
continued rationale for any problems that Were deferred The TPR shall
address the efficacy of staffs interventions including medical
interventions and any revisions needed.

If a patient is not making progress as expected toward the medical goals
and objectives of the MTP, the treatment team shall, in a timely manner,
consider the modification of treatment interventions, including medical
interventions

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Sufficient coverage for non-psychiatric medical care shall be provided.

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3.2

3.3

A hill-time internist shall be assigned to Work on weekdays during the daytime.
The equivalent of a half-time internist shall be available on Weekdays during the
evenings An internist shall be available to provide consultation to the nurse
practitioners and psychiatrists at all times

Two full-time nurse practitioners shall be assigned to work on weekdays during
the daytime. A nurse practitioner shall also be assigned to work on Saturdays and
Sundays, plus state holidays

During the hours that an internist or nurse practitioner is not present at MMHI, the
OD psychiatrist shall be responsible for the provision of non-psychiatric medical
care.

Performance improvement activities shall be implemented to ensure that
non-psychiatric medical care is consistent with accepted standards of care.

4.l

4.2

4.3

Medical Staff peer review processes shall include indicators related to
non-psychiatric medical care

Provision of outside medical services shall be monitored to assure that services
are provided in a timely manner, that appropriate clinical information is received
from the outside medical service, and that treatment recommendations are
followed-up by MMHI staff

Actions shall be taken as indicated to improve the quality of non-psychiatric
medical care.

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ATTACHMENT B

Plan for Psychopharmacological Practices

Psychopharmacological care shall be provided in a timely manner, including
monitoring and follow-up.

l.l

1.2

1.3

Each patient's need for psychopharmacological treatment shall be assessed by the
admitting psychiatrist at the time of admission and by the attending psychiatrist at
the time of the first contact with the patient and on an on-going basis thereafter
The initial rationale for psychopharmacological treatment shall be documented in
the psychiatric assessment with the rationale for modifications in
psychopharmacological treatment documented in the psychiatrist's progress notes

Psychiatric progress notes shall include the patient's subjective response to
treatment including psychopharmacological interventions objective findings
(such as mental status or test results), an analysis of the effectiveness of treatment
including psychopharrnacological treatment and the rationale for any medication
changes including dosage, method of administration, schedule of administration,
as well as discontinuation of medications

Psychiatric progress notes shall also provide clear justification for
psychopharmacological interventions that are outside usual and customary
treatment including psychotropic medication above usual does multiple
simultaneous medication changes and use of polyphannacy.

Psychopharmacological consultation shall be available to provide input to MMHI
psychiatrists regarding psychopharmacological practices

2.1

2.2

2.3

The MMHI psychiatrists shall participate in monthly peer consultation regarding
psychopharmacological practices

Psychopharmacological consultation shall also be available from an appropriately
qualified professional, upon request

Consultation shall be available regarding general psychopharinacological practices
and on a case-specific basis

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3. Psychopharmacological interventions shall be documented and integrated into
treatment planning.

3.1

3.2

3.3

lnitial Treatment Plan (ITP):

3.1.1

3.1.3

The admitting psychiatrist shall develop ITP interventions for psychiatry,
including psychopharmacological interventions intended to initiate
measures that will provide for the safety of the patient and/or others as
well as to stabilize the patients acute psychiatric symptoms/behaviors

The attending psychiatrist shall have the final authority for approving the
ITP, as evidenced by his/her dated signature on the ITP form. The
attending psychiatrist shall make modifications to the ITP, including
psychopharrnacological interventions as indicated, based on the attending
psychiatrists plan for on-going treatment of the patient

The treatment team, under the leadership of the attending psychiatrist
shall add or modify the discipline-specific, individualized interventions on
the ITP, including psychophannacological interventions as necessary to
address the patients current needs problems and/or behaviors

Master Treatment Plan (MTP):

3.2.1

3.2.2

The MTP shall include the patients current diagnosis problem
descriptions and objectives related to discharge barriers and other
treatment issues and interventions including psychopharmacological
interventions identified to address the discharge barriers and other
treatment issues

The attending psychiatrist shall include in his/her interventions
psychopharmacological interventions selected to address the patient's
psychiatric symptoms/behaviors The attending psychiatrists progress
notes shall document the effectiveness of psychopharmacological
interventions as well as the rationale for any changes in these
interventions

Treatment Plan Reviews (TPRS):

3.3.1

Interdisciplinary TPRS shall include a verbal review of the status of
problems identified on the MTP, including diagnoses and continued
rationale for any problems that Were deferred. TPRs shall include a review
of medications including medication changes and use of PRN and STAT
medications The TPR shall address the efficacy of staffs interventions

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including psychopharmacological interventions and any revisions needed.

3.3.2 If a patient is not making progress as expected toward the goals and
objectives of the MTP, the treatment team shall, in a timely manner,
consider the modification of treatment interventions including
psychophannacological interventions

Performance improvement activities shall be implemented to ensure that
psychopliarmacological practices are consistent with accepted standards of care.

4.1 Medical Staf`f peer review processes shall include indicators related to
psychopharmacological practices

4.2 The MMHI Pharmacy and Therapeutics Committee shall review information
relative to psychopharrnacological practices and make recommendations for
improvements to the MMHI Medical Staff and Quality Council.

4.3 Actions shall be taken as indicated to improve the quality of
psychopharmacological care.

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 2:96-CV-02312 was distributed by faX, mail, or direct printing on
lune 21 , 2005 to the parties listed.

 

 

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